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Case 2:97-cr-20124-.]P1\/| Document 88 Filed 08/23/0 Page 1 offF a
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CLERK OF THE COURT

U.s. DISTRICT cOURT MW‘SMM museum
wESTERN DISTRICT 0F TENNESSEE CLERX 113 qgrppmoum wame

157 N. MAIN sTREE:T 11111131 11F11P113
MEMPHIS, TN., 38103 ' '

RE: USA V. OLIVO

cAsE No. 2- 97_ c_R_ 20124 01- miamon
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Dear Clerk, 0#:9 “/f,

On September 8, 2004, I was sentenced to 8 months for

 

violating the terms of my supervised release by the Honorable
Jon Phipps McCalla. Prior to that I had served a state sen-
tence based on the same criminal conduct. Even though I do
not have my sentencing transcript and cannot afford to purchase
them, I specifically recall Judge McCalla saying that I should
receive credit for the time I was in custody under this judg-
ment.

The records department here at the prison refuse to give me
credit for that time because it is not specifically stated in
my Judgment and Committment Order. I now respectfully request
that the Court issue an amended Judgment and Committment Order
specifically stating that I be granted that back-time.

Thank you and I await your response.

Sin:erely, fm
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REG. NO. 16001-076
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BMLHK 540*23 * SENTENCE MONITORING * 07-19-2005

PAGE 001 * COMPUTATION DATA * ll:ll:l§
AS OF 07-19#2005

REGNO..: 16001-076 NAME: OLIVO, ISMAEL
EBI NO......-....: 961255LA4 DATE OF BIRTH: 04-06*1964
ARSl.............: BML/A~DES
UNIT ............. : UA QUARTERS.....: UO3-O44U
DETAINERS,.......: NO NOTIFICATIONS: YES

PRE-RELEASE PREPARATION DATE: 12#26-2005

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: 01-18»2006 VIA FT REL

---------------------- cURRENT JUDGMENT/WARRANT NO: 020 -_--»------~--~----~----

COURT OF JURISDICTION...........: TENNESSEE, WESTERN DISTRICT
DOCKET NUMBER...................: 2:97CR20124-001
JUDGE...........................: MCCALLA
DATE SENTENCED/PROBATION IMPOSED: 12-12~1997
DATE SUPERVISION REVOKED ........ : 09~08-2004
TYPE OF SUPERVISION REVOKED.....: REG
DATE COMMITTED..................: 06-09-2005
HOW COMMITTED...................: COMMIT OF SUPERVISED REL VIOL
PROBATION IMPOSED............,..: NO

FELONY ASSESS MISDMNR ASSESS FINES COSTS
NON-COMMITTED.: $100.00 $O0.00 $O0.00 $O0.00
RESTITUTION...: PROPERTY: NO SEHVICES: NO AMOUNT: $OO.UO

------------------------- cURRENT OBLIGATION NO: 010 ----»-~------F-~--»------~-

OFFENSE CODE....: 381
OFF/CHG: POSS OF APPROX 3 KILOS OF COCAINE W/INTENT TO DISTRIBUTE
21 USC SQl(A)(l)

SENTENCE PROCEDURE.............: SUPERVISED RELEASE VIOLATION PLRA
SENTENCE IMPOSED/TIME TO SERVE.: 8 MONTHS
DATE OF OFFENSE................: 06-08-1997

GOOOZ MORE PAGES TO FOLLOW

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BMLHK 540*23 * SENTENCE MONITORING * 07-19-2005
PAGE 002 * COMPUTATION DATA * ll:ll:l§

REGNO..:

AS OF 07-19~2005

16001-076 NAME: OLIVO, ISMAEL

------------------- cURRENT COMPUTAT:ON NO: 020 »--_--f-_--f----~--_---»-_

COMPUTATION 020 WAS LAST UPDATED ON 06-14~2005 AT BML AUTOMATICALLY

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 020: 020 010

DATE COMPUTATION BEGAN.......,..: 05~19-2005
TOTAL TERM IN EFFECT............: 8 MONTHS
TOTAL TERM IN EFFECT CONVERTED..: 3 JDNTHS
EARLIEST DATE OF OFFENSE..-.....: 06-08#1997
TOTAL PRIOR CREDIT TIME.-.......: 0

TOTAL INOPERATIVE TIME..........: 0

TOTAL GCT EARNED AND PROJECTED. ' 0

TOTAL GCT EARNED ................. 0

STATUTORY RELEASE DATE PROJECTED: OlwlB-ZOOG
SIX MONTH /10° DATE.............: N/A
EXPIRATION FULL TERM DATE.......: 01-13~2006
PROJECTED SATISFACTION DATE.....: 01*18-2006
PROJECTED SATISFACTION METHOD...: FT REL

GOOOZ

MORE PAGES TO FOLLOW

   

UNITED sTATE DRISTIC CoUR - WETERN DSTCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:97-CR-20124 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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lsmael Olivo

FCI

16001-076

P.O. Box 26020
Beaumont7 TX 77720--602

Honorable J on McCalla
US DISTRICT COURT

